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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                4:10CR00186-005        SWW

ISMAEL EFRAIN TORRES



                                   ORDER

      Pending before the Court is defendant’s        motion to continue the

hearing on the government’s motion to revoke bond previously scheduled

for July 25, 2012. The government has no objection to the continuance.

The Court finds that the motion should be granted.

      IT IS THEREFORE ORDERED that the motion to continue [doc #224] is

GRANTED and the hearing is rescheduled for MONDAY, AUGUST 20, 2012 AT

1:00 P.M. IN COURTROOM #389.

      IT IS SO ORDERED this 19th day of July 2012.



                                           /s/Susan Webber Wright

                                           UNITED STATES DISTRICT JUDGE
